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                                                                                                    United States Bankruptcy Court
                                                                                                        Southern District of Texas

                                                                                                           ENTERED
                        IN THE UNITED STATES BANKRUPTCY COURT                                            October 24, 2023
                          FOR THE SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                   HOUSTON DIVISION


    In re:                                                    Chapter 11

    SORRENTO THERAPEUTICS, INC., et al.,1                     Case No. 23-90085 (CML)


                        Debtors.                              (Jointly Administered)



                          ORDER ALLOWING INTERIM COMPENSATION
                             AND REIMBURSEMENT OF EXPENSES
                                   [Relates to Dkt. No. 1362]

        This Court considered the Second Interim Application for Compensation and
Reimbursement of Expenses filed by Norton Rose Fulbright US LLP at Docket No. 1362. No party
objected to the Application. Regardless, this Court conducted its own analysis of the fees and
expenses requested in the Application and the applicable legal standards under Sections 330 and
331 of the Bankruptcy Code. The Court finds the Application should be granted.

             Therefore, it is ORDERED that:

       1.    Norton Rose Fulbright US LLP is allowed interim compensation and
reimbursement of expenses in the amount of $107,245.01 for the period set forth in the
Application.

          2.     The Debtors are authorized to disburse any unpaid amounts allowed by paragraph
1 of this Order.



                 August24,
                 October 02,2023
                             2019




1
  The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The Debtors’
service address is: 4955 Directors Place, San Diego, CA 92121.
